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AO 442 (Rev. 11/11) Arrest Warrant

 

UNITED STATES DISTRICT COURT

 

for the
District of Columbia
United States of America
v. )
. ) Case No.
Patrick Edward McCaughey III )
)
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Patrick Edward McCaugehey III ;
who is accused of an offense or violation based on the following document filed with the court:
1 Indictment © Superseding Indictment QO Information © Superseding Information WJ Complaint
Probation Violation Petition ©) Supervised Release Violation Petition OViolation Notice Order of the Court

This offense is briefly described as follows:

18 U.S.C. 111(b) Assaulting, resisting, or impeding certain officers or employees, 18 U.S.C. 231(a)(3) Civil
Disorder, 18 U.S.C. 1752(a) & (b) Restricted Building or Grounds, 40 U.S.C. 5104(e)(2) Violent Entry or
Disorderly Conduct,

 

a ,. 2021.01.18
Date: 01/18/2021 19:44:36 -05'00'
Issuing officer’s signature
City and state: Washington D.C. Robin M. Meriweather , Magistrate Judge

frinted name and title

 

Return

 

This warrant was received on (date) I {2/ a2 , and the person was arrested on (date) L/i7@/o|

at (city and state) Sovrg Salen : wy :

Date: _Vas/zi tT, 5 7B =
( [ {/ Arresting officer's signature

S&_ SfFFE Fy D Wes orf

Printed name and title

 

 

 

 

 
